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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 ADAM ROSS,
           Plaintiff,                               CASE NO. 1:18-cv-01258-JRS-TAB

 v.

 BALL STATE UNIVERSITY,
           Defendant.

                                            ORDER

              The Plaintiff, Adam Ross, by counsel, filed an Unopposed Motion for Extension

       of Time to Respond to Defendant’s Motion for Summary Judgment and the court being

       duly advised in the premises, finds that said Motion should be granted.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the Court that the

       Plaintiff’s response is extended to October 14, 2019.

       SO ORDERED.



       Date: 9/19/2019




       All parties notified via the
       ECF system on all EFF registered counsel of record.


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